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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

       v.                                                 Case No. 1:23-cr-00257-TSC

    DONALD J. TRUMP,

                    Defendant.


            PRESIDENT DONALD J. TRUMP’S MOTION FOR LEAVE TO FILE
                UNREDACTED MOTION AND EXHIBITS UNDER SEAL

        President Donald J. Trump, by and through undersigned counsel, hereby respectfully

moves for leave, pursuant to the Protective Order entered by the Court in this case (ECF No. 28),

to file an unredacted copy of the enclosed motion—President Trump’s Motion for an Order

Regarding the Scope of the Prosecution Team (the “Motion”)—under seal because the Motion

quotes Sensitive Materials as defined by the Protective Order.1 President Trump also seeks the

Court’s permission to file on the public docket a redacted version of the Motion, also enclosed,

that do not disclose Sensitive Material to the public.

        President Trump files the motion asking that the Court enter an order making plain the

scope of the prosecution team and ordering the Special Counsel to identify and produce

discovery for which President Trump is entitled. In support of the relief sought, the motion cites

documents produced in discovery by the Special Counsel’s Office that have been designated as

“Sensitive” under the terms of the Protective Order. See ECF No. 28 ¶ 8(e). Accordingly, as set

forth in the Protective Order, these materials must be submitted under seal. Id. ¶ 11. (“If a party


1
 President Trump continues to object to any of the proceedings in this case being conducted under seal.
The materials submitted as part of this motion should be available to the public, and the fact that the
Protective Order requires that certain materials, as designated by the Special Counsel, be kept from the
public’s eye, is wrong.
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includes unredacted Sensitive Materials in any filing with the court, they shall be submitted

under seal.”). President Trump must also provide a redacted copy of the motion to be filed on

the public docket. Id. ¶ 12. (“Any filing under seal must be accompanied by . . . a redacted

copy of any included Sensitive Materials for the Clerk of the Court to file on the public docket if

the court were to grant the motion for leave to file under seal.”).

       Consistent with these requirements, President Trump seeks leave to file the following

documents under seal:

      Wholly unredacted copies of the Motion and exhibits designated as “Sensitive” under the

       Protective Order; and

      A proposed order consistent with the above.

       The Court has inherent power to seal court filings when appropriate. See United States v.

Hubbard, 650 F.2d 293, 315-316 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc.,

435 U.S. 589, 598 (1978)). “A court must consider six factors in assessing whether the

competing interests to seal overcome the presumption of public access: (1) the need for public

access to the documents at issue; (2) the extent of previous public access to the documents; (3)

the fact that someone has objected to disclosure, and the identity of that person; (4) the strength

of any property and privacy interests asserted; (5) the possibility of prejudice to those opposing

disclosure; and (6) the purposes for which the documents were introduced during the judicial

proceedings.” Allen v. Addi, 2021 WL 5911175, at *5 (D.D.C. Nov. 23, 2021) (Chutkan, J.)

(quoting E.E.O.C. v. Nat’l - 2 - Children’s Ctr., 98 F.3d 1406, 1409 (D.C. Cir. 1996)). Here, the

factors either weigh in favor of sealing or are neutral on the question. The Court already has

implicitly balanced these factors by entering the Protective Order, over President Trump’s

objections, permitting the Government to mark the proposed sealed materials as Sensitive.
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       For the reasons stated above, pursuant to the Protective Order, President Trump

respectfully seeks the Court’s leave to file the unredacted versions of the Motion and exhibits

thereto under seal.



 Dated: November 27, 2023                         Respectfully submitted,

                                                  /s/ Todd Blanche
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                        IN THE UNITED STATES DISTRICT COURT
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      v.                                            Case No. 1:23-cr-00257-TSC

   DONALD J. TRUMP,

                   Defendant.



                                   [PROPOSED] ORDER

       The Court has received and reviewed President Donald J. Trump’s Motion for Leave to

File Unredacted Motion and Exhibits Under Seal. For the reasons stated therein, and for good

cause, it is hereby ORDERED:

1. The motion is GRANTED.

2. The Clerk is ordered to docket, under seal, the unredacted copies of President Trump’s Motion

and exhibits thereto.

SO ORDERED this _______ day of November 2023.



                                     ____________________________________
                                     HON. TANYA S. CHUTKAN
                                     UNITED STATES DISTRICT JUDGE
